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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

George McReynolds, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:05−cv−06583
                                                       Honorable Robert W. Gettleman
Merrill Lynch & Co., Inc., et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 6, 2013:


        MINUTE entry before the Honorable Robert W. Gettleman: Fairness hearing held
on 12/6/2013. The Court overrules Mr. Gunn's objections. Trial date of 1/6/2014 is
stricken. Plaintiffs' motion [595] for service awards is granted. Motion [596]for attorney
fees and costs is granted. Unopposed motion [610] for final approval of class action
settlement is granted. Civil case terminated. Mailed notice (gds)




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